         Case 22-60043 Document 108 Filed in TXSB on 08/26/22 Page 1 of 4




                IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

IN RE:                                   §            Case No. 22-60043
                                         §
FREE SPEECH SYSTEMS, LLC,                §            Chapter 11 (Subchapter V)
                                         §
      Debtor.                            §

                    THE CONNECTICUT PLAINTIFFS’
          WITNESS AND EXHIBIT LIST FOR EMERGENCY HEARING

 Judge                   Hon. Christopher M. Lopez
 Hearing Date            Monday, August 29, 2022
 Hearing Time            1:00 p.m. (CST)
 Party’s Name            David Wheeler, et al.
 Attorney’s Names        Ryan Chapple, Randy Williams
 Attorney’s Phone        512-477-5000
 Nature of Proceeding    Hearing on Emergency Motion for Relief from the Automatic
                         Stay [Dkt. 15]


                          WITNESS AND EXHIBIT LIST

      David Wheeler, Francine Wheeler, Jacqueline Barden, Mark Barden, Nicole

Hockley, Ian Hockley, Jennifer Hensel, Donna Soto, Carlee Soto Parisi, Carlos M. Soto,

Jillian Soto-Marino, William Aldenberg, William Sherlach, and Robert Parker

(collectively, the Connecticut Plaintiffs) hereby submit this Witness and Exhibit List in

connection with the hearing on their Emergency Motion for Relief from the Automatic

Stay (the Emergency Motion) [Dkt. 15] to be held on Monday, August 29, 2022 at

1:00 p.m. (Central Standard Time):

      Counsel for the Connecticut Plaintiffs reserves the right to supplement, amend, or

delete any witnesses or exhibits prior to the hearing. Counsel for the Connecticut

Plaintiffs reserves the right to supplement the Witness and Exhibit List with new



CONNECTICUT PLAINTIFFS’ WITNESS AND EXHIBIT LIST—PAGE 1
         Case 22-60043 Document 108 Filed in TXSB on 08/26/22 Page 2 of 4




witnesses and additional exhibits. Further, counsel reserves the right to use any exhibits

presented by any other party and to ask the Court to take judicial notice of any document.

Counsel for the Connecticut Plaintiffs further reserves the right to introduce exhibits

previously admitted.

                                            WITNESS LIST

         •       Alinor Sterling, Trial Counsel for Connecticut Plaintiffs;
         •       W. Marc Schwartz, Chief Restructuring Officer of Debtor;
         •       Any witness necessary to establish notice of the hearing on the Emergency
                 Motion has been provided;
         •       Any witness necessary to rebut the testimony of any witness called or
                 designated by any other parties;
         •       Any witness listed or called by any other party.

                                            EXHIBIT LIST

         IF YOU SEEK A COPY OF THE EXHIBITS, YOU CAN ACCESS THEM BY
            SUBMITTING A WRITTEN REQUEST TO ARLANA PRENTICE AT
                          APRENTICE@CSTRIAL.COM.

         Counsel for the Connecticut Plaintiffs may offer for admission into evidence any of

the following exhibits at the hearing:

                                                                          Date    Disposition
 No.         Description                                    Offer   Obj   Admit    after trial
    1.       Erica Lafferty, et al. v. Alex Jones, et al.
             Complaint

    2.       William Sherlach v. Alex Jones, et al.
             Complaint

    3.       William Sherlach and Robert Parker v.
             Alex Jones, et al. Complaint

    4.       Connecticut State Court Nov. 15, 2021
             Default Ruling

    5.       Connecticut State Court Dec. 24, 2021
             Order Striking Notice of Defenses




CONNECTICUT PLAINTIFFS’ WITNESS AND EXHIBIT LIST—PAGE 2
          Case 22-60043 Document 108 Filed in TXSB on 08/26/22 Page 3 of 4




    6.      Supreme Court of Connecticut July 23,
            2020 Decision

    7.      Jones Defendants’ Oct. 19, 2020 Motion
            to Recuse

    8.      Connecticut State Court Dec. 24, 2021
            Order Denying Motion to Recuse

    9.      Jan. 24, 2019 Sworn Interrogatories of
            Alex Jones

    10.     FSS Deposition Excerpts, Jun. 24, 2021

    11.     Jones Deposition Excerpts, Apr. 5, 2022

    12.     Jones Deposition Excerpts, Apr. 6, 2022

    13.     Heslin, et al., v Alex Jones, et al.
            Complaint

            Any exhibits designated by other parties

            Any exhibits necessary for rebuttal


         Respectfully submitted this 26th day of August 2022.


                                                     /s/ Ryan E. Chapple
                                              Ryan E. Chapple
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                                              303 Colorado Street, Suite 2850
                                              Austin, Texas 78701
                                              512-477-5000
                                              512-477-5011—Facsimile

                                              and




CONNECTICUT PLAINTIFFS’ WITNESS AND EXHIBIT LIST—PAGE 3
       Case 22-60043 Document 108 Filed in TXSB on 08/26/22 Page 4 of 4




                                          Randy W. Williams
                                          State Bar No. 21566850
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                                          BYMAN & ASSOCIATES PLLC
                                          7924 Broadway, Suite 104
                                          Pearland, Texas 77581
                                          281-884-9262
                                          ATTORNEYS FOR
                                          THE CONNECTICUT PLAINTIFFS

                             CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Witness and Exhibit
List has been served on counsel for Debtor, Debtor, and all parties receiving or entitled to
notice through CM/ECF on this 26th day of August 2022.


                                                /s/ Ryan E. Chapple
                                          Ryan E. Chapple




CONNECTICUT PLAINTIFFS’ WITNESS AND EXHIBIT LIST—PAGE 4
